          Case 3:14-cr-00999-JMA                       Document 35                Filed 05/07/14              PageID.36             Page 1 of 2


    ~.AO 2458    (Rev. 12/11) Judgment in a Criminal Petty Case
                 Sheet I

                                            UNITED STATES DISTRICT dbtYRf 1 Ail 8: 26
                                              SOUTHERN DISTRICT OF CALIFORNM.:i" . ,,~12;C;:.~'.fP6j!~1.'<
                   UNITED STATES OF AMERICA                                      JUDGMENT               I~ A CRIMINAL CASP
                                      v.                                         (For Offenses Committed On or After NovetW~rI:" 1987)

                     JORGE RODRIGUEZ-MORA                                        Case Number: 14CR999-JMA
                                                                                  LUPE RODRIGUEZ
                                                                                 Defendant's Attorney
    REGISTRATION NO. 41632298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) 1 OF THE SUPERSEDING INFORMAnON
    o was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        after a plea of not guilty.
        Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                           Count
    Title & Section                        Nature of Offense                                                                              Number(s)
8 USC 1325                           IMPROPER ENTRY BY AN ALIEN




             The defendant is sentenced as provided in pages 2 through _--=2=--_ of this judgment.

   o The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   181 Count(s) 1 OF THE UNDERLYING INFORMAnON                                  is   181 areD dismissed on the motion of the United States.
   181 Assessment: $25.00 - WAIVED


   181 Fine waived                                  o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
            IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
      defendant shall notity the court and United States Attorney ofany material change in the defendant's economic circumstances.
                                                                                     MAY 6, 2014




                                                                                     HON.JAN
                                                                                     UNITED STATES MAGISTRATE JUDGE

                                                                                                                                               14CR999-JMA
      Case 3:14-cr-00999-JMA                              Document 35      Filed 05/07/14    PageID.37           Page 2 of 2


AO 245B     (Rev. 12/11)Judgment in Criminal Petty Case
            Sheet 2   Imprisonment

                                                                                             Judgment -- Page _....;;2_ of     2
DEFENDANT: JORGE RODRIGUEZ-MORA
CASE NUMBER: 14CR999-JMA
                                                               IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED




   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   o      The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.     Op.m.      on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 _________________________________________________
           o as notified by the United States Marshal.
           o   as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                   to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                            UNlTED STATES MARSHAL


                                                                        By _ _ _ _ _~~~~~~~~~~-----
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                        14CR999-JMA
